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H.AO Z¢ISB (CASD) (Rev. ];z,f| |) Judgmenf in a Criminal Case

 

 

 

 

  

 

 

 

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UNITED STATES DISTRICT CoURT i&§§’ l ‘ m 0 Y
§ 'z ""»T C.`( § t
SOUTHERN DISTRICT OF CALIFORNIA ' ' ,___.,;j§;;§`;§§<z€.: at cain assent
UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CAE§‘]§ v
v_ (For Offenses Committed On or After November l, 1987) 0 1`
JOSE MELENDEZ (2) Case Number: 12CR2599-H
Kenneth Robert McMullan
Def`endant’s Altomcy
REGlSTRATlON NO. 63248-112
Modincaaon of Restiwtion order (ts u.s.C. § 3664)
THE DEPENDANTZ ,
pleaded guilty to count(s) 1 of the Indl°tment~
ij was found guilty on count(s)
after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
Count
Title & Section Nature of Offense Number{s}
18 USC 371 CONSPIRACY TO PAY AND RECElVE HEALTH CARE KICKBACKS
AND DEFRAUD MEDICARE l
The defendant iS S€Ilt€l'lc€d as provided ill pages 2 through 5 ()f this judgment_ The gentence is imposed pursuant

to the Sentencing Reform Act of 1984.
m The defendant has been found not guilty on count(s)

Count(s) remaining in the Indictment is m are- dismissed on the motion of the United States.
Assessrnent: $100.00. '

 

Fine waived Forfeiture pursuant to order filed April 12, 2013 , included herein.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendants economic circumstancesl

JUNE 24, 20 l 3

Date oflmposition of Sentence

satz/uaw "

HON. MARIBYN L. HU'F'F UC/
UNITED sTATEs DIsTRIc'r JUDGE

 

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AO 245B {CASD) (Rev. 12fll) Judgment in a Criminal Case
Shcct 2 _ imprisonment

 

Judgment -- Page 2 of 5
DEFENDANT: JOSE MELENDEZ (2)
CASE NUMBER: 12€32599_]-[
IMPRIS()NMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of

18 MONTHS.

i:i Sentence imposed pursuant to Title 8 USC Section 1326(b).

The court makes the following recommendations to the Bureau of Prisons:
The Court recommends a medical evaluation for placement

m The defendant is remanded to the custody of the United States Marshal.

m The defendant shall surrender to the United States Marshal for this district

mat_______ |:ia.m. mp.m. on

as notified by the United States Marshal.

 

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
before Or on Friday August 9, 2013 by 12:00 P.M.
m as notified by the United States Marshai.
m as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
l have executed this judgment as follows:
Def`endant delivered on to
at , with a certified copy of this judgment
UNlTED sTATEs MARSHAL
By

 

DEI’UTY UNITED STATES MARSHAL

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AO 245B (CASD) (Rev. 12/1 l] Judgment in a Criminal Case
Sheet 3 _ Supcrvised Release

.ludgmentiPage § of 5
DEFENDANT: JOSE MELENDEZ (2)
CASE NUMBER$ 12CR2599~H
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
3 YEARS.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

For offenses committed on or after September 13, 1994:

The defendant shall not illegally possess a controlled substancel The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests

thereafter as determined by the court. Testing re uirements will not exceed submission of more than 4 drug tests per month during
the term cf supervision, unless otherwise ordere by court.

m The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future sub stance abuse. '(Check, if applicable.)

|Z The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis

Backlotg Elimination Act of 2000, pursuant to 18 USC sections 3563(a)1&7) and 3`583(d). _ . _
!:| The de endant shall comply with the requirements of the Sex Oft`ender egistration and Notitication Act (42 U.S.C. § 16901, et seq.) as directed

by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, woi'ks, is a student, or
was convicted of a qualifying offense. (Check if applicable.)

|:j The defendant shall participate in an approved program for domestic violence (Check, if applicable.)

If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant paty any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule o Payinents set
forth in this judgment

The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities; j

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain fi'om excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

' 8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

ll) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12] the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission ofthe court; and

' 13) as directed by the probation officer, the defendant shallnotify third parties of risks that may be occasioned by the defendant's criminal

record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement

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AO 24513 (CASD) (Rev. 12111 Judgment in a Criminal Case
Sheet 4 en Special Conditions

Ju:gment_l’age § of 5
DEFENDANT; Joss MELENDEZ (2)
CASE NUMBER: 12CR2599-H

SPECIAL CONDITIONS OF SUPERVISION

Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
this condition.

|:] If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure

m Not transport, harbor, or assist undocumented aliens.

m Not associate with undocumented aliens or alien smugglers.

|:| Not reenter the United States illegally.

E Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
m Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

l:l Not possess any narcotic drug or controlled substance without a lawful medical prescription

|:| Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

i___i Partieipate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

i:l Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
officer, if directed.

Provide complete disclosure of personal and business financial records to the probation officer as requested

Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of thc
probation officer.

i:i Seek and maintain full time employment and/or schooling or a combination of both.
i:| Resolve all outstanding warrants within days.
|:| Complete hours of community service iri a program approved by the probation officer within

|:I Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

m Participate iri a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendants ability to pay.

 

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AO 2453 Judgment in Criminal Case
Sheet 5 ~ Criminal Monetary Pena!ties

 

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Judgment j Page 5 of
DEFENDANT= JosE MELENDEZ (2) `
CASE NUMBER: 12CR2599-H
RESTITUTION
The defendant shall pay restitution in the amount of _$W£g_gl_ unto the United States of Ameriea.

Defendant Jose Melendez shall be jointly and severally liable to pay restitution with co- Defendant Irvinp,r J.
Schwartz in the amount of $593,429,81.

This sum shall be paid immediately

L as follows:

Restitution shall be paid forthwith to the following vicitim:

Center for Medicare and Medieaid Services ("CMS“)
Division of Accounting Operations

P.O. Box 7520

Baltimore, MD 21207-0520

through the Clerk, U.S. District Court.

The Court has determined fhat the defendant does have the ability to pay interest, It is ordered that:

The interest requirement is waived.

The interest is modified as follows:

12CR2599-H

